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Genesis Card Services

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

BILLINGS DIVISION
DANIEL J. COLVIN, ) Cause No.:
)
Plaintiff, )
) NOTICE OF REMOVAL
Vs. )
)
GENESIS CARD SERVICES, )
)
Defendant. )
)

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

Pursuant to 28 U.S.C. §§ 1331 and 1441 ef seg., and 15 U.S.C. § 1692 ef seg., defendant,
Genesis FS Card Services, Inc., incorrectly named as Genesis Card Services ("Defendant"), hereby
gives notice of removal of this cause of action, under the caption Daniel J. Colvin v. Genesis Card
Services, from the 6" Judicial Court, Park County, Montana (“State Court Action”) to the United
States District Court for the District of Montana. In support of removal, Defendant, by and through

its attorneys, states as follows:
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l, Defendant was served in this matter on June 1, 2020. The matter was venued in the
6"" Judicial Court, Park County, Montana. True and correct copies of the state court pleadings are
attached hereto and marked as Exhibit "A".

a This action is a civil action of which this Honorable Court has original jurisdiction
under 28 U.S.C. § 1331, and is one which may be removed to this Court by Defendant pursuant to
28 U.S.C. § 1441 in that it presents a federal question, wherein Plaintiff alleges violations of the
Fair Debt Collection Practices Act (““FDCPA”),

3; As Defendant was served on June 1, 2020, this removal is timely.

4, Notice of this removal will be sent to 6" Judicial Court, Park County, Montana and
served on Plaintiff.

WHEREFORE, Defendant requests that further proceedings in the 6" Judicial Court, Park
County, Montana, be discontinued and that this action be removed in its entirety to the United
States District Court for the District of Montana, which will then assume full jurisdiction over this
cause of action.

Dated: June 19, 2020.

CROWLEY FLECK PLLP
By:  /S/ David F. Knobel

David F. Knobel

P. O, Box 2529

Billings, MT 59103-2529

Attorneys for Defendant Genesis Card Services
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on June 19, 2020 he served a copy of the attached
Notice of Removal and Exhibit A upon Daniel J. Colvin, by mailing a true and correct copy with
postage prepaid, addressed as follows

[X] U.S. Mail Daniel J. Colvin

[ ] Electronic mail 81 Old Clyde Park Road
[ ] Facsimile Livingston, MT 59047
[ |] Hand delivery Pro Se Plaintiff

[ | Certified mail, return receipt

/S/ David F. Knobel
David F. Knobel
CROWLEY FLECK PLLP
